
USCA1 Opinion

	













        February 26, 1996       [Not For Publication]
                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
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        No. 95-1803

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                 HERBERT E. PLYMPTON,

                                Defendant, Appellant.
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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
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                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
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                            Coffin, Senior Circuit Judge,
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                          and Rosenn,* Senior Circuit Judge.
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                                 ____________________

            Charles J. Rogers, Jr. on brief for appellant.
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            Michael   P.  Iannotti,  Assistant  United  States  Attorney,  and
            ______________________
        Sheldon Whitehouse,  United States Attorney,  on brief for  the United
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        States.


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        *Of the Third Circuit, sitting by designation.















                 Per Curiam.  Herbert Plympton was convicted after a jury
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            trial  of three counts of possession and concealment of goods

            stolen from  interstate commerce and sentenced  to 41 months'

            imprisonment  and  restitution  totaling  $444,231.69.    The

            convictions and  sentence were submitted  to this court  in a

            separate appeal.  United States v. Black, No. 94-1852.  
                              _____________    _____

                 On April  18, 1995,  Plympton's attorney filed  a motion

            requesting that  $35,000  bail, posted  following  Plympton's

            arraignment  in 1993, be returned to one George Gotauco.  The

            government  objected  and filed  a motion  to apply  the bail

            funds toward  the  outstanding assessment,  restitution,  and

            fine pursuant  to 28 U.S.C.    2044.  The  district court, on

            July  12,  1995,  denied  Gotauco's motion  and  granted  the

            government's motion. 

                 Because 28 U.S.C.    2044, by its terms, does  not apply

            "to any  third party  surety," the  central issue before  the

            district court  was whether there was  sufficient evidence to

            establish  that Gotauco was a bona fide surety.  The district

            court held that he was not.  On appeal, the government argues

            that  we need  not reach  this question--which  presents some

            difficult interpretive problems--and urges us to dismiss this

            appeal  because  the appellant,  Plympton, lacks  standing to

            press for the return of the bail funds to Gotauco.  

                 The standing  issue is itself  difficult:   There is  an

            argument  that  Plympton  himself  has standing  but  also  a



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            proffered counter  argument by  the government; and  there is

            also  a possibility that,  on a proper  motion, Gotauco might

            have urged that he  be substituted as the appellant  in place

            of Plympton who did file a timely notice of appeal.   Because

            of  the complexity  of  the issues,  we  issued an  order  on

            January 16, 1996, requesting the parties to file supplemental

            memoranda addressed both to merits and standing issues.

                 The government filed  a timely response, but  Plympton's

            counsel did  not do  so; the  Clerk's  Office then  contacted

            Plympton's  counsel who  promised  that the  overdue response

            would be  filed not later than February 19, 1996.  A week has

            now  passed, and  no response  has been  filed.   The present

            appeal is  dismissed for  want  of prosecution.   Whittal  v.
                                                              _______

            Commissioner  of Internal  Revenue,  230 F.2d  948 (1st  Cir.
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            1956) (per curiam).

                 It is so ordered.
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